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      [8revoke] [ORDER REVOKING DISCHARGE OF DEBTOR]



                                                   UNITED STATES BANKRUPTCY COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DIVISION
                                                           www.flmb.uscourts.gov



      In re:                                                                                      Case No. 8:13−bk−06282−MGW
                                                                                                  Chapter 7


      Christian E. Sanon
      9008 Paragon Way
      Boynton Beach, FL 33472

      Louise Marie Sanon
      9008 Paragon Way
      Boynton Beach, FL 33472


      ________Debtor*________/


                                               ORDER REVOKING DISCHARGE OF DEBTOR

          THIS CASE came on for consideration on the Court's own motion for the purpose of considering the entry of an
      appropriate order in the above−captioned Chapter 7 case. The Court has considered the record in this case and finds
      that on December 19, 2014 this Court entered a Final Judgment in the Adversary Proceeding, 8−14−ap−702−MGW ,
      United States Trustee , Plaintiff(s) v Christian E. Sanon and Louise Marie Sanon , Defendant(s). The Final Judgment
      provided that the discharge granted to Christian E. Sanon and Louise Marie Sanon is revoked pursuant to Section 727
      of the Bankruptcy Code. Therefore, it appears appropriate to enter an Order in the general case revoking the Debtor's
      Discharge. Accordingly, it is

          ORDERED that the Discharge of the Debtor, Christian E. Sanon and Louise Marie Sanon , is hereby revoked.

                                              BY THE COURT

Dated: December 19, 2014
                                              ____________________________________________
                                              Michael G. Williamson
                                              United States Bankruptcy Judge
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
